
In a decision filed on July 23, 2018, the Workers' Compensation Court of Appeals (WCCA) denied the petition of relator Clarence Johnson to vacate and set aside an Award on Stipulation, served and filed on February 26, 2007, and a Partial Award on Stipulation, served and filed on March 25, 2015. Johnson v. Skil-Tech, Inc. , No. WC18-6167, 2018 WL 3765246 (Minn. WCCA July 23, 2018). On August 2, 2018, Johnson appealed from the WCCA's decision.
Johnson challenges the WCCA's denial of his petition to vacate and set aside the Award on Stipulation and the Partial Award on Stipulation. We have reviewed the record and summarily affirm the WCCA's decision.
Johnson also challenges the constitutionality of Minn. Stat. § 176.461 (2018) and Minn. R. 5220.2710 (2017). The WCCA lacked jurisdiction to consider the constitutional challenges. See Minn. Stat. § 175A.01, subd. 5 (2018) ; David v. Bartel Enters. , 856 N.W.2d 271, 273 (Minn. 2014). Johnson has not identified the constitutional provisions that he claims were violated and he has not provided any legal authority to support his constitutional challenges. We conclude that Johnson has waived his constitutional claims. See, e.g. , Christie v. Estate of Christie , 911 N.W.2d 833, 837 n.4 (Minn. 2018) (concluding that an argument made without providing any analysis or citation to legal authority was waived).
Based upon all the files, records and proceedings herein,
IT IS HEREBY ORDERED that the decision of the Workers' Compensation Court of Appeals filed July 23, 2018, be, *722and the same is, affirmed without opinion. See Hoff v. Kempton , 317 N.W.2d 361, 366 (Minn. 1982) (summary dispositions have no precedential value because they do not commit the court to any particular point of view, doing no more than establishing the law of the case).
IT IS FURTHER ORDERED that Johnson's constitutional claims are deemed waived as made without analysis or citation to legal authority.
BY THE COURT:
/s/ ______________________________
Paul C. Thissen
Associate Justice
